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September 12, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH
       Joint Letter Brief RE: Meta’s Motion to Compel Plaintiffs’ Copyright Filings

Dear Magistrate Judge Hixson:
Further to the matters discussed at the September 9 hearing, the parties respectfully submit this
letter brief regarding Plaintiffs’ responses to Defendant Meta Platforms, Inc.’s (“Meta”) First Set
of Requests for Production of Documents (“RFPs”) (attached as Exhibit A). The parties have
extensively met and conferred on this issue. With the discovery cut-off less than three weeks out
and depositions occurring throughout next week, there is no time for delay.
META’S POSITION: THE COPYRIGHT FILINGS ARE LONG OVERDUE
At issue in this motion is a basic request for documents that are relevant in any copyright
infringement lawsuit: copies of the copyright filings for each of the works allegedly owned by
Plaintiffs that form the basis of their copyright claims against Meta (the “Asserted Works”). These
are the documents that Plaintiffs (themselves or through others) must have filed with the U.S.
Copyright Office (“USCO”) to obtain registrations necessary to sue Meta. 17 U.S.C. § 411(a).

For each Asserted Work, the copyright filings necessarily include the (1) original copyright
application, which would list the copyright claimants, authors, date of publication, if the work is
a derivative work, the year of creation, the correspondent of record, and a certification that the
statements are true and correct;1 (2) deposit – one or two (depending on the type of work) complete
copies of the work over which copyright registration is sought2; (3) correspondence with the
USCO about that application (e.g., if the USCO had questions or concerns, and how those were
addressed); and (4) ultimately, a certificate of registration (together, “Copyright Filings”).

On January 9, Meta requested these filings from Plaintiffs in its very first RFP. Consistent with
the above, the parties understood this request to encompass the Copyright Filings. In response,3
Plaintiffs agreed to “search for and produce relevant and responsive non-privileged


1
  See 17 U.S.C. § 409 (outlining application requirements); see also Form TX, USCO,
https://www.copyright.gov/forms/formtx.pdf (last revised May 2019) (appended as Exhibit B).
2
  “[T]he material deposited for registration shall include … (2) in the case of a published work,
two complete copies . . . of the best edition . . . .” 17 U.S.C. § 408(b); see 37 C.F.R. § 202.20
(defining “complete copy”); 37 C.F.R. § 202.19 (defining “best edition”).
3
  Plaintiffs initially alleged ambiguity as to the meaning of “deposit material” and made a baseless
privilege claim. Plaintiff TerKeurst received the same RFP in May upon consolidation.
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communications … not equally accessible to [Meta].”

Plaintiffs did not produce the Copyright Filings by the April 2024 deadline to begin productions.
Meta followed up regarding the Copyright Filings on no fewer than five occasions – by two meet
and confer letters on May 7 and July 17, calls on May 24 and July 30, and again by email on
September 3. On a July 30 call, Plaintiffs’ counsel suggested that their clients did not possess
such filings. At Plaintiffs’ behest, somebody submitted applications to register their works (which
Plaintiffs would have signed) and must have a file. On that call, Plaintiffs – through Messrs. Saveri
and Sweatman – unambiguously agreed to investigate and confirm whether such filings resided
with their representatives, agents, or attorneys who were likely to have handled such filings (all
within Plaintiffs’ possession, custody, or control). They represented that they would reach out to
Plaintiffs’ agents and attorneys likely to handle those types of filings and attempt to obtain the
Copyright Filings.

Below, Plaintiffs suggest that their publishers supposedly handled Plaintiffs’ copyright filings.
That was never represented on the July 30 call or otherwise. If true, Plaintiffs should have said so,
instead of (now) suggesting it was “generally” known. Still, copyright filings made by publishers,
for Plaintiffs’ books, are for the benefit of the Plaintiffs and required their input (e.g. details of co-
authorship, creation date, etc.) Are Plaintiffs really claiming that they own copyrights, want to
enforce them against Meta, but do not have the ability to get the filing particulars where their
publisher partners assisted with those filings? It is similarly unclear whether Plaintiffs have even
asked their publishers for the information. Interestingly, with Plaintiffs now pointing to publishing
agreements, we observe that a Harper-Collins publication agreement indicates that the authors
have contractual audit rights to obtain information from the publishers (e.g. giving them the right
to obtain sales information, which many did not provide Meta). Plaintiffs must obtain the filings.

More than five weeks have passed. Below, “Plaintiffs” claim they spoke to “agents” who pointed
to publishers. Which ones, and for which works? Much is missing: only Mr. Greer and Ms.
Woodson produced copyright applications for some of their works. No Plaintiff has produced
USCO correspondence. Unrefuted below, no Plaintiff has produced the deposit materials (i.e.
the actual works protected by their copyright). See 17 U.S.C. § 408(b); supra fn2. Only a single
plaintiff produced copyright registration certificates for all their Asserted Works (Ms. Snyder).
Just two other plaintiffs have produced any registration certificates at all: Mr. Greer (with two
produced after the hearing) and Ms. Woodson, each for all but one of their Asserted Works. None
of the remaining Plaintiffs produced any requested Copyright Filings.

The Copyright Filings are not “equally accessible” to Meta. Based on Meta’s counsel’s
investigation, the USCO Records Research and Certification Division confirmed only a single
deposit copy among the remaining Asserted Works was available for retrieval (for Ms. Snyder’s
book). Referred to the Library of Congress (“LOC”) to inquire as to whether it might have copies,
the LOC represented that it would need to conduct a six-week search of their records, subject to
extensions of time and paid for by-the-hour, to identify whether it even possessed the relevant
deposit materials. Only then could Meta pay to obtain whatever deposit materials the LOC found
– if any. And to obtain a mere subset of the other Copyright Filings from the USCO (e.g., some
but not all of the applications, correspondence, and registration certificates), the estimated cost
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would be upwards of $25,000 in USCO fees alone – a multi-week process unlikely to result in
complete Copyright Filings. For this reason, and based on Plaintiffs’ counsel’s explicit July 30
representation, Meta did not further pursue the issue with the USCO or LOC.

Ultimately, Plaintiffs have a duty to obtain this information to demonstrate what their alleged
copyrights actually cover. More than just “registration certificates” (which Plaintiffs only now say
they’ll belatedly obtain), the Copyright Filings may reveal that Plaintiffs’ registrations cover a
different work or version, list unrelated co-authors or owners, or provide other information
germane to Plaintiffs’ claims of copyright ownership and the validity of their copyrights.

Meta seeks an Order requiring Plaintiffs to search for –including through agents and publishing
partners over which they have the right to receive information, and attorneys – and produce the
Copyright Materials within their possession, custody, or control within three (3) days, with the
failure to do so resulting in preclusion from testifying about what was in the copyright application,
what was deposited with the USCO, or that they have registration certificates for their works.

PLAINTIFFS’ POSITION:

The Copyright Materials at issue are, at core, publicly accessible government records that courts
routinely judicially notice. Laatz v. Zazzle, Inc., No. 22-cv-04844-BLF, 2024 WL 1023849, at *3
(N.D. Cal. Mar. 7, 2024) (explaining that in the Northern District of California, “[i]t is common
practice for courts to take judicial notice of copyright registrations and applications.”); see also id.
(collecting cases). Even though these materials are routinely judicially noticed, Meta wants
Plaintiffs to undertake the burden of searching for these documents in their possession custody or
control. Plaintiffs have done so. Further, at Meta’s request, Plaintiffs asked their agents for
these materials too. Even after having done everything Meta asked, Meta remains unsatisfied.
Meta is now attempting to compel production from Plaintiffs government records Plaintiffs do not
possess. Further, Plaintiffs have explained that their publishers, who are outside of their control,
may have this material. Yet, puzzlingly, when Meta issued Rule 45 subpoenas to these publishers,
they did not seek the Copyright Materials. In any event, these materials are publicly accessible
through the Copyright Office. Plaintiffs do not know why Meta has been incapable of following
or unwilling to follow the Copyright Office’s instructions on how to obtain the Copyright
Materials. See Copyright Office, Obtaining Access to and Copies of Copyright Office Records and
Deposits at *2 https://www.copyright.gov/circs/circ06.pdf. But Meta will get some of the
Copyright Materials it wants from Plaintiffs—Plaintiffs have recently undertaken the burden of
obtaining certificates of registration from the Copyright Office (which would be judicially
noticeable anyway) and will produce them once they’ve been obtained.

Defendant’s motion should be denied for the following reasons: (1) the material is not in Plaintiffs’
possession, custody or control; and (2) the material is equally available to Meta either through the
Rule 45 process or by initiating a records request with the U.S. Copyright Office.

The Requested Materials are not in Plaintiffs’ Possession, Custody, or Control
Plaintiffs conducted a reasonably diligent search for registration materials in their possession,
custody and control, and have produced what has been collected. Plaintiffs have also spoken to
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their agents regarding whether they possess responsive materials. Those who have responded have
indicated that the registration materials are in the hands of their publishers.4 This makes sense:
many of the relevant publishing agreements provide that the publishers are to register the
Plaintiffs’ works, as described in more detail below.

Specifically, Plaintiffs Kadrey and Golden requested these documents from their literary agents
who indicated that the documents are not in their possession but would be in their publishers’
possession. Plaintiff Silverman requested these documents from her entertainment lawyer who
does not have these documents. Plaintiff Lippman’s agent searched for copyright registration
certificates, was unable to locate them, and informed her counsel that only the publisher can access
Plaintiff Lippman’s copyright registration certificates. Her counsel also requested them from her
publisher. Plaintiff Coates’ counsel requested that Coates’ literary agents and business lawyer
search for his copyright certificates. Plaintiff Rachel Louise Snyder’s agent obtained her copyright
registration certificate from Plaintiff Snyder’s editor at her publisher. Some of the Plaintiffs,
including all the Plaintiffs that have not reached out to their agents, have reached out to the
Publishers for these materials. For the few Publishers that responded with copies of materials,
Plaintiffs have produced those materials, or they will be produced shortly. In most cases, the
Publishers have not responded.

By way of background, it is generally the case that Plaintiffs entered into book publishing
agreements with certain book publishers (“Publishers”, as used herein). Publishers generally
operate at arms-length with the author plaintiffs. They are not agents of the Plaintiffs and within
Plaintiffs’ “control” for the purposes of Rule 26. It appears that Meta would agree: Meta served
duplicative Rule 45 discovery on each of the Publishers in late June, requesting, among other
things, documents regarding sales information, in addition to requesting the same information from
Plaintiffs directly. (Noticeably absent from those subpoenas is any request for copyright
registration materials for the Asserted Words, although Meta could have and should have made
that request.)

Among other things, the agreements generally recognize that Plaintiff is the author of the work,
and that the Publishers will perform certain services on behalf of the author, including handling
the process of timely submitting a copyright registration. It would thus make sense that the
registration materials lie in the hands of the Publishers, and not with the authors themselves. As
Meta is surely aware, these provisions are contained in the publishing agreements themselves.
Thus, Meta knew or should have known all along that Plaintiffs are unlikely to possess the
Copyright Materials. Meta also could have or should have pursued requests from the USCO or
LOC, as described below. Meta’s failures, omissions and lack of diligence should not be excused.

The Requested Material is Equally Available to Meta
If Meta wants the registration materials from the Publishers, it can serve them additional Rule 45
subpoenas. Further, these are government records that courts routinely judicially notice. Laatz,
2024 WL 1023849, at *3. If Meta really wants to obtain these materials, it can obtain the materials

4
 If any of Plaintiffs’ agents respond that they have obtained registration materials for the
Asserted Works, Plaintiffs will promptly produce them.
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by simply following the United States Copyright Office’s instructions. See Copyright Office,
Obtaining Access to and Copies of Copyright Office Records and Deposits at *2
https://www.copyright.gov/circs/circ06.pdf (“Photocopies of the following copyright-related
records can be obtained: affidavits, registration applications, assignments, contracts, licenses, and
other documents that have been recorded in the Copyright Office.”). Those instructions also
expressly contain information for litigants in a copyright proceeding. Id. at *3. Meta would simply
need to complete and submit a Litigation Statement Form indicating that the request is made
pursuant to ongoing litigation. Id. The information needed to properly make these requests (the
author name, title, or registration number) are available to Meta for each Asserted Work. The time
and fees Meta has incurred in initiating this motion to compel could have been put to better use if
Meta had simply requested the materials from the Copyright Office or included them in their
subpoenas served on the publishers.

Notwithstanding all of this, Plaintiffs have also now undertaken the burden of requesting copies
of certificates of registration from the Copyright Office and will produce them once received.5
Plaintiffs are also inquiring with their agents, as described above, but the consensus thus far is that
these materials are in the Publishers’ hands.

For all of these reasons, Meta’s motion should be denied.

                                                    /s/ Joseph R. Saveri
    Bobby Ghajar                                    Joseph R. Saveri
    Kathleen Hartnett                               Bryan Clobes
    Mark Weinstein                                  David A. Straite
    Elizabeth Stameshkin
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    COOLEY LLP                                      Ventura Hersey & Muller, LLP
                                                    RMP, LLP
    Angela Dunning                                  DiCello Levitt LLP
    CLEARY GOTTLIEB STEEN &                         Poynter Law Group
    HAMILTON LLP
                                                    Attorneys for Plaintiffs
    Attorneys for Defendant,
    Meta Platforms, Inc.


5
  Plaintiff TerKeurst also ordered certificates of registration and deposit copies for her four
Asserted Works from the U.S. Copyright Office. The U.S. Copyright Office has since informed
counsel for Plaintiff TerKeurst that the deposit materials for 3 of the 4 Asserted Works have been
moved for collection to the Library of Congress, necessitating an additional, different process.
Without waiving her objection that these materials are equally accessible to Defendant Meta, and
therefore she is under no obligation to obtain and then produce them, Plaintiff TerKeurst will
produce these materials as soon as they are obtained.
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.


Dated: September 12, 2024                             COOLEY LLP

                                                       /s/ Bobby Ghajar
                                                      Bobby Ghajar

                                                      Attorneys for Defendant
                                                      Meta Platforms, Inc.
